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                         +UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                                         )
MASSACHUSETTS FAIR HOUSING               )
CENTER and HOUSING WORKS, INC.,          )
                                         )
           Plaintiffs,                   )
                                         )
           v.                            )
                                         ) Civil Action No. 3:20-cv-11765-MGM
UNITED STATES DEPARTMENT OF              )
HOUSING AND URBAN DEVELOPMENT            )
and BEN CARSON, Secretary of the         )
Department of Housing and Urban          )
Development,                             )
                                         )
           Defendants.                   )
                                         )

MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION UNDER 5 U.S.C. § 705
 TO POSTPONE THE EFFECTIVE DATE OF HUD’S UNLAWFUL NEW RULE



                                        Lauren Sampson (BBO # 704319)
                                        lsampson@lawyersforcivilrights.org
                                        Oren Sellstrom (BBO # 569045)
                                        osellstrom@lawyersforcivilrights.org
                                        LAWYERS FOR CIVIL RIGHTS
                                        61 Batterymarch Street, 5th Floor
                                        Boston, Massachusetts 02210
                                        (617) 482-1145

                                        Scott P. Lewis (BBO # 298740)
                                        slewis@andersonkreiger.com
                                        Mina S. Makarious (BBO # 675779)
                                        mina@andersonkreiger.com
                                        Annie E. Lee (BBO # 705568)
                                        alee@andersonkreiger.com
                                        ANDERSON & KREIGER LLP
                                        50 Milk Street, 21st Floor
                                        Boston, Massachusetts 02109
                                        (617) 621-6525
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                                                   Introduction

         Plaintiffs Massachusetts Fair Housing Center (“MFHC”) and Housing Works, Inc.

(“Housing Works”) ask this Court for simple, yet essential, preliminary relief: for the Court to

use its authority under the Administrative Procedure Act (“APA”), 5 U.S.C. § 705, to postpone

the effective date of a new, unlawful rule issued by the Department of Housing and Urban

Development (“HUD”), HUD’s Implementation of the Fair Housing Act’s Disparate Impact

Standard, 85 Fed. Reg. 60288 (Sept. 24, 2020) (the “2020 Rule”), and issue a nationwide

preliminary injunction barring HUD from implementing the 2020 Rule pending the Court’s

review.1

         If the 2020 Rule is permitted to take effect on October 26, 2020 – as it will, absent

judicial intervention – it will cast aside decades of well-established practice and procedure, both

at HUD and in the courts, enforcing the mandate of the Fair Housing Act, 42 U.S.C. §§ 3601 et

seq. (the “FHA”), through disparate impact litigation. Unlike “disparate treatment” claims,

which target policies and practices with a discriminatory intent, “disparate impact” claims

challenge policies and practices that have disproportionate adverse effects on protected classes,

regardless of intent. See Texas Dep’t of Hous. and Cmty. Affairs v. Inclusive Communities

Project, Inc., 576 U.S. 519, 524 (2015) (“Inclusive Communities”). As the Supreme Court has

recognized, disparate-impact liability “permits plaintiffs to counteract unconscious prejudices

and disguised animus that escape easy classification as disparate treatment. In this way

disparate-impact liability may prevent segregated housing patterns that might otherwise result

from covert and illicit stereotyping.” Id. at 540.



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         Plaintiffs anticipate that in the ordinary course, this case will come before the Court for a decision on the
merits on cross-motions for summary judgment. While it may take HUD some time to assemble the administrative
record, Plaintiffs are prepared to follow a prompt schedule for briefing and argument on the merits.



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        The 2020 Rule marks an abrupt and unjustified departure from the historical approach to

disparate impact enforcement under the FHA, by introducing novel pleading and proof

requirements that will be virtually impossible to meet, and creating broad new defenses to

liability, including a perplexing “outcome prediction” defense HUD featured for the first time in

its final rule, contrary to the language and intent of the FHA. Unless it is set aside, the 2020

Rule will replace a rule HUD issued just seven years ago that properly codified the applicable

standards under the FHA as they have been interpreted by HUD and the courts for decades. See

Implementation of the Fair Housing Act’s Discriminatory Effects Standard, 78 Fed. Reg. 11460

(Feb. 15, 2013) (the “2013 Rule”).2 The 2013 Rule has proved workable for victims of housing

and lending discrimination, and it adequately protects defendants from unjustified disparate

impacts claims. The Court should allow HUD’s 2013 Rule to remain in effect while it considers

Plaintiffs’ serious challenges to HUD’s 2020 Rule.

        If the 2020 Rule is allowed to take effect, Plaintiffs will be forced to abandon long-

standing, well-established tools they have successfully relied upon to combat subtle and

unspoken housing and mortgage lending practices that, while not openly discriminatory, have

unlawful discriminatory effects on protected classes under the FHA, including people of color,

women and immigrants. Plaintiffs and the victims of housing and lending discrimination they

serve will suddenly be forced to bring and prove disparate impact claims under heightened

pleading and proof standards unlike any the FHA, HUD or the courts have ever previously

required. In many cases, victims of housing discrimination may be discouraged by the obstacles

HUD has erected to deter victims from vindicating their rights under the FHA and decide not to




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         The operative provisions of both the 2020 Rule and the 2013 Rule it would replace were attached as
Exhibits A and B to the Complaint. For the Court’s convenience, they are reproduced in the addenda to this brief.



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even challenge illegal discrimination. In other cases, victims may file administrative complaints

with HUD, or civil claims in court, only to have their cases dismissed under new standards of

pleading and proof that are flatly inconsistent with the FHA.

       If the 2020 Rule takes effect and this Court later sets the 2020 Rule aside, as Plaintiffs

believe it should, victims of housing and lending discrimination – hurt by a range of policies and

practices, from zoning that disproportionately excludes people of color and perpetuates

segregation, to tenancy restrictions that disproportionately harm female victims of domestic

violence – will have been deterred from challenging unlawful practices, and could be foreclosed

from bringing their claims forever.

                                            Argument

I.     THIS COURT HAS DISCRETION TO STAY THE EFFECTIVE DATE OF THE
       2013 RULE AND BAR ITS IMPLEMENTATION UNTIL THE COURT
       COMPLETES THIS REVIEW PROCEEDING.

       HUD’s 2020 Rule is final agency action reviewable by this Court under the APA,

5 U.S.C. § 702. A court reviewing final agency action, such as the 2020 Rule, “may, on such

conditions as may be required and to the extent necessary to prevent irreparable injury, … issue

all necessary and appropriate process to postpone the effective date of an agency action ...

pending conclusion of the review proceeding.” 5 U.S.C. § 705. Plaintiffs ask the Court to

exercise its discretion to stay the October 26, 2020 effective date of the 2020 Rule and issue a

preliminary injunction barring HUD from applying its 2020 Rule until the Court has decided

whether or not HUD’s 2020 Rule is valid.

       In determining whether to issue a stay under § 705, the Court should apply the same

standards that apply to grants of preliminary injunctions. See City & County. of San Francisco v.

U.S. Citizenship & Immigration Servs., 408 F. Supp. 3d 1057, 1078 (N.D. Cal. 2019). A stay

under § 705 and a preliminary injunction both serve to preserve the status quo pending a decision


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on the merits. See University of Texas v. Camenisch, 451 U.S. 390, 395 (1981); Sierra Club v.

Jackson, 833 F. Supp. 2d 11, 28 (D.D.C. 2012). In a case like this, the applicable factors are

whether (1) the plaintiff is likely to succeed on the merits; (2) the plaintiff will suffer irreparable

harm in the absence of a stay; and (3) the balance of harms and the public interest favor a stay.

Nken v. Holder, 556 U.S. 418, 435 (2009); Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

(2008).

          Courts frequently enter stays of effective dates and nationwide preliminary injunctions in

cases like this one where serious challenges are lodged against new regulations before they are

put into effect; irreparable harm will arise if no preliminary relief is granted; and the balance of

harms and public interest favor maintaining the status quo while the Court considers the case on

the merits. See, e.g., District of Columbia v. United States Dep't of Agric., 444 F. Supp. 3d 1, 46

(D.D.C. 2020) (granting partial stay of rule under § 705 and nationwide preliminary injunction

regarding eligibility for low-income food assistance), appeal filed, No. 20-5136 (D.C. Cir. May

14, 2020); Washington v. United States Dep't of Homeland Sec., 408 F. Supp. 3d 1191, 1223

(E.D. Wash. 2019) (same regarding DHS rules changing visa application rules).

          In this case, all applicable factors favor a stay and injunction. First: Plaintiffs are likely

to succeed on the merits because HUD’s 2020 Rule vitiates core protections afforded by the

FHA and is contrary to law; HUD has arbitrarily and capriciously upended its 2013 Rule; and

HUD did not comply with its notice and comment obligations. Second: if the 2020 Rule is

allowed to take effect, it will cause irreparable injury to Plaintiffs, the communities and victims

they represent, and similar advocacy organizations throughout the country. Third: there is no

urgent reason to let the 2020 Rule take effect before the Court has had an opportunity to review

whether it is lawful; but if the 2020 Rule is allowed to take effect and then is later set aside, in




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contrast, there would be immense confusion in the filing and adjudication of pending disparate

impact claims and a needless waste of private and public resources. The Court should therefore

stay the effective date of HUD’s 2020 Rule, and bar its application by HUD, until this review

proceeding has been concluded.

II.    PLAINTIFFS HAVE A STRONG LIKELIHOOD OF SUCCESS.

       Plaintiffs have challenged HUD’s 2020 Rule on a variety of different grounds under the

APA. They have a strong likelihood of success on all of their claims. The 2020 Rule must

ultimately be set aside, however, if Plaintiffs succeed on any one of their challenges to the Rule.3

       A.       HUD’s 2020 Rule Is Contrary To Law.

       The 2020 Rule must be set aside because it creates an extraordinary array of new

pleading rules, defenses and burden-shifting provisions that are inconsistent with the language

and remedial purposes of the FHA, and thus is “not in accordance with law” within the meaning

of 5 U.S.C. § 706(2)(A). See Union of Concerned Scientists v. Wheeler, 954 F.3d 11, 21-122

(1st Cir. 2020) (agency action undermining governing statute or otherwise inconsistent with

motivating congressional intent is not in accordance with law) (citing Robbins v. Reagan, 780

F.2d 37, 45 (D.C. Cir. 1985)).

       Enacted a week after Dr. Martin Luther King’s assassination and in response to his

advocacy for housing integration, the purpose of the FHA is to eradicate entrenched segregation

in housing and related services, such as mortgage lending. The FHA is a broad remedial statute,

enforceable at HUD and in the courts, that aims to stamp out housing discrimination in all of its

forms. See Gladstone Realtors v. Village of Bellwood, 441 U.S. 91, 102-104 (1979) (noting

FHA is intended to cover a broad class of plaintiffs and provide unimpeded access to federal


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       For purposes of this motion only, Plaintiffs rely upon just three of the claims they have asserted.



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courts); Trafficante v. Metro. Life Ins. Co., 409 U.S. 205, 209 (1972) (“The language of the

[FHA] is broad and inclusive.”). For decades, HUD and the courts have understood and

enforced the FHA in light of its historical roots. Liability has been found not only for intentional

discrimination, but also for policies that have discriminatory effect or “disparate impact.” See,

e.g., Town of Huntington v. Huntington Branch, N.A.A.C.P, 488 U.S. 15, 16–18 (1988) (per

curiam) (zoning law preventing construction of multifamily rental units was unlawful because of

disparate impact on minority groups); Rhode Island Comm’n for Human Rights v. Graul, 120 F.

Supp. 3d 110, 131 (D.R.I. 2015) (landlord’s practice of limiting the number of occupants in a

residential unit had a disparate impact based on familial status); Support Ministries for Persons

with AIDS, Inc. v. Vill. of Waterford, 808 F. Supp. 120, 136 (N.D.N.Y. 1992) (finding local

zoning ban on residences for “persons suffering from . . . any illness or disease” unlawful

because of disparate impact on handicapped individuals).

       When Congress enacted the Fair Housing Act in 1968, it directed HUD affirmatively to

further fair housing, 42 U.S.C. § 3608(d); gave HUD the ability to investigate and adjudicate fair

housing claims, 42 U.S.C. § 3610; and authorized the Secretary of HUD to issue regulations to

carry out the FHA. 42 U.S.C. §§ 3608(c); 3614a. HUD properly exercised this power when it

issued its 2013 Rule, capturing four decades of accumulated experience in the adjudication of

disparate impact claims, both at HUD and in the courts. The 2013 Rule defined an unlawful

“discriminatory effect”; set forth what could be recognized as a “legally sufficient justification”;

and codified the familiar three-part burden shifting framework used by courts under the FHA, as

well as under Title VII of the Civil Rights Act, 42 U.S.C. §§ 2000e et seq., the FHA’s sister

statute in employment. See, e.g., Gamble v. City of Escondido, 104 F.3d 300, 304 (9th Cir.

1997) (“We apply Title VII discrimination analysis in examining Fair Housing Act (‘FHA’)




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discrimination claims. Most courts applying the FHA, as amended by the Fair Housing Act

Amendments, have analogized it to Title VII.”) (quotation omitted). The 2013 Rule did not alter

existing law or change well-accepted procedures applicable to disparate impact claims.

       In 2015, the Supreme Court was asked to declare that the FHA only bars intentional

discrimination and to rule that disparate impact claims can never be asserted under the FHA. See

Inclusive Communities, 576 U.S. at 528. The Court declined to do so and. instead, unequivocally

affirmed that the FHA prohibits both intentional discrimination and acts with unjustified

disparate impacts that create “separate and unequal” conditions, underscoring that “[r]ecognition

of disparate-impact claims is consistent with the FHA’s central purpose.” Id. at 539. The Court

explained that zoning laws and other housing restrictions, in particular, function to “exclude

minorities from certain neighborhoods without any sufficient justification,” and that disparate

impact suits “targeting such practices reside at the heartland of disparate impact liability.” Id.

Contrary to HUD’s later assertions, Inclusive Communities did not encourage, let alone mandate,

any changes to the 2013 Rule. In fact, as late as 2017, HUD defended the 2013 Rule in court,

arguing that Inclusive Communities is “entirely consistent with the [2013] Rule’s reaffirmation of

HUD’s longstanding interpretation that the FHA authorizes disparate impact claims” and that the

Supreme Court had “affirmed the validity of the [2013] Rule’s approach.” Defs.’ Opp’n to Pl.’s

Mot. For Leave to Am. Compl., Property Cas. Insurers Ass’n of Am. v. Carson, No. 13-cv-8564

at 9-10 (N.D. Ill. Apr. 21, 2017) (ECF # 122).

       Nonetheless, on August 19, 2019, HUD published a Proposed Rule to replace its 2013

Rule with new pleading requirements, defenses and burdens of proof that would effectively

accomplish what the Supreme Court decided not to do: eliminate (or drastically curtail) the

ability of victims of housing and lending discrimination to bring successful disparate impact




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claims, by changing HUD’s own rules. HUD’s Implementation of the Fair Housing Act’s

Disparate Impact Standard, 84 Fed. Reg. 42854 (the “Proposed Rule”). HUD asserted, without

any justification, that its about-face was required by the Supreme Court’s decision in Inclusive

Communities. 84 Fed. Reg. at 42857. On September 24, 2020, HUD published the final 2020

Rule. 85 Fed. Reg. 60288. The 2020 Rule is directly at odds with Inclusive Communities and

breathtaking in its disrespect for the anti-discrimination purposes of the FHA.

       Signaling its intent, the 2020 Rule strikes the perpetuation of “segregated housing

patterns” from the definition of “discriminatory effect,” as it appears in the 2013 Rule, even

though the eradication of segregated housing was the central reason why the FHA was passed in

1968. 2020 Rule, 24 C.F.R. § 100.500(a). The 2020 Rule then completely overhauls the

pleading requirements for a disparate impact claim. Under the 2020 Rule, a plaintiff is not only

required to plead that “a specific, identifiable policy or practice has a discriminatory effect,” as

required by the 2013 Rule; but must also “sufficiently plead facts” to support each of five new

elements:

       (1) That the challenged policy or practice is arbitrary, artificial, and unnecessary
       to achieve a valid interest or legitimate objective such as a practical business,
       profit, policy consideration, or requirement of law;

       (2) That the challenged policy or practice has a disproportionately adverse effect
       on members of a protected class;

       (3) That there is a robust causal link between the challenged policy or practice and
       the adverse effect on members of a protected class, meaning that the specific
       policy or practice is the direct cause of the discriminatory effect;

       (4) That the alleged disparity caused by the policy or practice is significant; and

       (5) That there is a direct relation between the injury asserted and the injurious
       conduct alleged.

2020 Rule, 24 C.F.R. § 100.500(b).




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       The 2020 Rule then permits a defendant, again at what HUD calls the “pleading stage,”

to “establish” that the plaintiff failed to make out a case by “showing” that a plaintiff has failed

to sufficiently plead facts to establish any of the required elements of a prima facie case. 2020

Rule, 24 C.F.R. § 100.500(d)(1). These confusing rules require a plaintiff, without the benefit of

discovery, to anticipate in their complaint every practical, profit-oriented, policy consideration or

requirement of law a defendant might invoke in defense of its discriminatory policy or practice.

       While the 2020 Rule piles on new, onerous pleading and proof requirements plaintiffs

must meet to bring and sustain their case, it eases the burdens of proof on defendants, and arms

them with a slew of new defenses to escape liability. The 2020 Rule gives a defendant the

opportunity to rebut a victim’s allegation that the challenged policy or practice is “arbitrary,

artificial and unnecessary” simply by producing evidence showing that the challenged policy or

practice “advances a valid interest,” 2020 Rule, 24 C.F.R. § 100.500(c)(2), rather than by

showing that the competing interest is “substantial, legitimate, [and] non-discriminatory,” as

required by the 2013 Rule. 24 C.F.R. § 100.500(c)(2). Even if a plaintiff survives a motion to

dismiss at the pleading stage, the 2020 Rule provides that a defendant may still escape liability

by demonstrating that the discriminatory policy or practice “is intended to predict an occurrence

of an outcome, the prediction represents a valid interest, and the outcome predicted by the policy

or practices does not or would not have a disparate impact on protected classes compared to

similarly situated individuals not part of the protected class.” 2020 Rule, 24 C.F.R.

§ 100.500(c)(2)(i).

       Under the 2013 Rule, a plaintiff could still succeed on a disparate impact claim, even if

the defendant offered a nondiscriminatory justification, by “proving that the substantial,

legitimate, nondiscriminatory interests supporting the challenged practice could be served by




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another practice that has a less discriminatory effect.” 2013 Rule, 24 C.F.R. § 100.500(c)(3). In

contrast, the 2020 Rule also raises this burden of proof, requiring a plaintiff to prove not only

that a practice with less discriminatory effects exists, but also that the alternative practice serves

the defendants’ identified interest “in an equally effective manner without imposing materially

greater costs on, or creating other material burdens for, the defendant.” 2020 Rule,

§ 100.500(c)(3). In essence, the 2020 Rule introduces, for the first time in the history of the

FHA or any comparable civil rights statute, a “profit” excuse that permits the perpetuation of

otherwise prohibited discriminatory effects even if an alternative, nondiscriminatory practice

would achieve the same “identified interest” – solely because it might increase the defendant’s

costs of doing business.

       By raising pleading and proof burdens for plaintiffs while lowering proof burdens for

defendants and equipping them with new defenses, HUD has violated its statutory obligation to

affirmatively further fair housing by redressing longstanding patterns and practices of

segregation and discrimination. 42 U.S.C. §§ 3608(d) and (e)(5); 24 C.F.R. § 5.152 (defining

“affirmatively further fair housing” as “taking meaningful actions, in addition to combating

discrimination, that . . . foster inclusive communities free from barriers that restrict access to

opportunity based on protected characteristics,” rescinded in its entirety by HUD in separate

rulemaking effective September 8, 2020, Preserving Community and Neighborhood Choice,

85 Fed. Reg. 47899, 47900 (August 7, 2020)). By making it far more difficult even for its own

grantees (such as Plaintiff Massachusetts Fair Housing Center) to bring disparate impact

discrimination claims and raising barriers to the exercise of housing choice by protected classes,

HUD has abdicated its statutory duty to affirmatively further fair housing. See also 42 U.S.C.

§ 5304(b)(2) (grants shall be made only if the grantee certifies that it will “affirmatively further




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fair housing.”). When an agency wanders so far from the purpose and language of the statute it

is implementing, the Court should set the agency’s rule aside pursuant to 5 U.S.C. § 706(2)(A).

See Michigan v. E.P.A., 576 U.S. 743, 754 (2015) (an agency may not interpret a statute in a

manner that disregards its statutory context); Council for Urological Interests v. Burwell, 790

F.3d 212, 222 (D.C. Cir. 2015) (an agency's interpretation of a statute must be a “‘permissible’

and ‘reasonable’ view of the Congress's intent.”).

       B.      The 2020 Rule Is Arbitrary and Capricious.

       The 2020 Rule should be set aside as “arbitrary and capricious” within the meaning of

5 U.S.C. § 706(2)(A), because HUD did not offer a reasoned explanation for gutting its 2013

Rule and substituting its new 2020 Rule, an about-face in HUD’s interpretation of the FHA.

American Wild Horse Preservation Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017)

(“[W]hen an agency decides to depart from decades-long past practices and official policies, the

agency must at a minimum acknowledge the change and offer a reasoned explanation for it.”).

HUD attempts to justify its reversal in two ways: first, HUD asserts the 2020 Rule is necessary

to bring the 2013 Rule into alignment with the Supreme Court’s decision in Inclusive

Communities; second, HUD claims the 2020 Rule will provide clarity to members of the public

seeking to comply with the FHA or to bring a claim for disparate impact that meets the

requirements outlined in Inclusive Communities. 85 Fed. Reg. at 60296. Neither of these

purported justifications is credible.

       The Supreme Court did not cast doubt on the basic framework set forth in the 2013 Rule

anywhere in its seminal Inclusive Communities decision. To the contrary, the Court repeatedly

took note of HUD’s 2013 Rule and endorsed HUD’s historical approach to disparate impact

claims. The Court based its analysis on the text of the FHA, overwhelming appellate court




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precedent following the same path, and the 1988 enactment of the Fair Housing Amendments

Act, which strengthened the FHA and ratified the three-part burden-shifting structure codified in

the 2013 Rule. Inclusive Communities, 576 U.S. at 534. The Court recognized that the burden-

shifting framework for disparate impact claims, as codified in the 2013 Rule, “has always been

properly limited in key respects that avoid the serious constitutional questions that might arise

under the FHA.” Id. at 540. The Court further observed that the burden-shifting framework in

2013 Rule serves to strike a critical balance between the right of plaintiffs to exercise housing

choice and combat discrimination and the ability of defendants to consider legitimate interests in

crafting their policies or practices. Id. at 541-42. Inclusive Communities did not compel HUD to

establish a novel “pleading” requirements, create new defenses, or alter well-understood burdens

of proof to tilt the scales decidedly in favor of property owners and mortgage lenders. HUD

cannot justify its new Rule on the basis of Inclusive Communities.

       HUD fares no better when it claims that the 2020 Rule provides enhanced clarity. In fact,

the 2020 Rule is exceptionally difficult to understand. It sets forth bewildering pleading

requirements, conflates allegations and proof, and offers obtuse new defenses. 2020 Rule,

24 C.F.R. §§ 100.500(b)-(d). Many words could be used to describe the new rule, but “clear’ is

not one of them. The 2020 Rule raises far more questions than it answers, such as:

              What does it mean to “sufficiently plead facts” to support the five new elements
               of a disparate impact claim?

              What facts must a plaintiff allege to sufficiently plead that a challenged policy or
               practice is “arbitrary, artificial, and unnecessary to achieve a valid interest or
               legitimate objective”?

              How can a plaintiff anticipate all the interests or objectives a defendant may claim
               to justify the policy or practice the plaintiff is challenging?

              What does “such as practical business, profit, policy, consideration” mean?

              What does it mean for a defendant, at the “pleading stage,” to “establish” that a


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               plaintiff failed to make out a case by “showing” that a plaintiff has failed to
               sufficiently plead facts to “establish” the required elements of a prima facie case?

              What does “predict an occurrence of an outcome” mean?

              What does it mean for a prediction to “represent a valid interest”?

              Does the 2020 Rule alter pleading rules or motion practice in disparate impact
               cases in federal or state court – or only before HUD?

       HUD’s inability to provide a satisfactory explanation for why it has turned its 2013 Rule

upside-down makes the 2020 Rule arbitrary and capricious, and it must be vacated. See Brady

Campaign to Prevent Gun Violence v. Salazar, 612 F. Supp. 2d 1, 19 (D.D.C. 2009) (“[C]hange

of course without a reasoned explanation is the quintessential example of an arbitrary and

capricious action.”).

       C.      HUD Improperly Created the 2020 Rule’s “Outcome Prediction” Defense
               without Notice and Comment.

       When it adopts new regulations, HUD is required both by the FHA and the APA to

follow notice and comment procedures. 42 U.S.C. § 3614a; 5 U.S.C. § 553. When it published

its 2020 Rule, however, HUD disclosed for the first time a novel and diffuse “outcome

prediction” defense that was never subject to notice and comment. Because commenters did not

have a fair opportunity to present their views on this newly-invented defense, and would have

offered different criticisms than they lodged against the “algorithmic model” HUD initially

proposed, the 2020 Rule must be vacated. See Natural Res. Def. Council, Inc. v. E.P.A., 824

F.2d 1258, 1284 (1st Cir. 1987) (“The essential inquiry is whether the commenters have had a

fair opportunity to present their views on the contents of the final plan. We must be satisfied, in

other words, that given a new opportunity to comment, commenters would not have their first

occasion to offer new and different criticisms which the Agency might find convincing.”)

(quoting BASF Wyandotte Corp. v. Costle, 598 F.2d 637, 642 (1st Cir. 1979)).



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       HUD’s Proposed Rule introduced an “algorithmic model” defense that would shield

defendants from FHA liability for policies or practices which utilize algorithms (a) based on

“neutral inputs,” such as credit risk or other permissible considerations in housing and lending;

(b) considered the “industry standard,” in their field; or (c) are analyzed by a neutral third party

that determines the model is empirically derived, uses neutral inputs, is predictive of risk or

another valid objective, and is statistically sound. 84 Fed. Reg. at 42862. But in the 2020 Rule,

HUD abruptly discarded the “algorithmic model” approach and announced a different, new

defense allowing a defendant to avoid liability by demonstrating that the policy or practice being

challenged “is intended to predict the occurrence of an outcome, the prediction represents a valid

interest, and the outcome predicted by the policy or practice does not or would not have a

disparate impact on protected classes compared to similarly situated individuals not part of the

protected class.” 85 Fed. Reg. at 60319, 2020 Rule, 24 C.F.R. § 100.500(d)(2)(i).

       HUD acknowledges it discarded the “algorithmic model” defense because of the volume

of criticism it received. 85 Fed. Reg. at 60319. But that is hardly justification for ignoring the

public’s role in vetting its confusing replacement. HUD claims its new “outcome prediction”

defense “achieves many of the goals of the proposed defense while addressing many of the

concerns raised by commenters,” but HUD has never given the public an opportunity to offer its

own assessment of whether the “outcome prediction” defense is a workable, fair or reasonable

way to achieve them. Id. A final rule that departs so much from the proposed rule that the final

version cannot be considered the “logical outgrowth” of the proposed rule requires additional

notice and comment. Natural Res. Def. Council, 824 F.2d at 1283-1285 (promulgation of

ground water protection requirements without notice and comment violated APA).




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III.   PLAINTIFFS AND THE VICTIMS OF DISCRIMINATION THEY SERVE WILL
       SUFFER IRREPARABLE HARM IF THE NEW RULE TAKES EFFECT.

       Implementation of the 2020 Rule in the midst of a global pandemic and accompanying

housing crisis will cause Plaintiffs immediate, irreparable harm, even if the Court later sets the

2020 Rule aside. Plaintiffs provide a range of services to vulnerable victims of housing and

lending discrimination, including legal representation and education, and advocacy to landlords

and policymakers on behalf of clients to enforce the requirements of the FHA. Bergquist Decl.,

¶ 5 (Ex. 1); Merjian Decl., ¶¶ 5, 7-8 (Ex. 2). Plaintiff MFHC is Massachusetts’ oldest full-

service fair housing organization, and is dedicated to eliminating systemic housing

discrimination and creating inclusive communities in Massachusetts. MFHC focuses its work in

the Springfield Metropolitan Area, which faces some of the highest rates of white/Latinx and

white/Black segregation in the country. Bergquist Decl., ¶¶ 5, 13. MFHC relies on its legal

enforcement program, including an active fair housing testing program, to combat housing

discrimination and segregation. Id. ¶ 7-8. Housing Works is a community of people living with

and affected by HIV/AIDS whose mission is to end the dual crises of homelessness and AIDS.

Merjian ¶¶ 3-4. Housing Works provides legal services to help clients obtain housing and

challenge discrimination. Id. ¶ 5. Housing Works has successfully prosecuted impact litigation

regarding disability in New York City housing for over two decades. Id. ¶ 7. Housing Works

uses disparate impact claims to secure judgments barring discrimination and to pressure some of

the largest landlords in New York to change practices. Id. ¶ 8.

       The 2020 Rule’s heightened pleading and proof requirements, as well as the novel

defenses the 2020 Rule creates, are designed to, and will, deter victims of housing or lending

discrimination from working with Plaintiffs to bring disparate impact claims because of the vast

amount of information victims must seek to gather at the outset of a case in order to meet the



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new pleading standards, including information in the exclusive possession of potential

defendants. Bergquist Decl., ¶¶ 17-21; Merjian Decl., ¶¶ 26-29. The 2020 Rule will require

Plaintiffs to divert resources from their existing programs to provide the assistance needed to

meet the 2020 Rule’s improperly heightened pleading and proof requirements. The 2020 Rule

will also require Plaintiffs to expend significant resources to reeducate victims of housing and

lending discrimination on their rights under the FHA. Bergquist Decl., ¶ 49. Compounding

these harms, the 2020 Rule dilutes the FHA’s deterrent effect on discriminatory behavior in

housing and lending, making Plaintiffs’ work more necessary, at the same time it renders that

work more difficult. Merjian Decl., ¶¶ 14, 17. Because the 2020 Rule is designed to make it

more difficult for victims to pursue disparate impact claims, the 2020 Rule weakens Plaintiffs’

leverage to advocate for FHA compliance with landlords, lenders and local governments.

Plaintiffs will have increased demands on their resources and fewer tools to combat housing and

lending discrimination, all in the middle of a pandemic that already strains the resources of

organizations at the frontlines of fighting housing insecurity.

       Other service organizations that serve the entire range of protected classes are facing and

will face similar challenges to provide their critical services in the new, more challenging, and

confusing, regime HUD has created. Barbour Decl., ¶¶ 6-16 (Ex. 3); Berman Decl., ¶¶ 11-13

(Ex. 4); Defranza Decl. ¶¶ 5-16 (Ex. 5); Edmondstone Decl., ¶¶ 22-29 (Ex. 6); Finfer Decl., ¶¶ 7-

15 (Ex. 7); Guisbond Decl., ¶¶ 10-22 (Ex. 8); Michalakes Decl., ¶¶ 7-15 (Ex. 9); Owens Decl.,

pp. 3-4 (Ex. 10); Paulino Decl., ¶¶ 7-16 (Ex. 11); Torpy Decl., ¶¶ 9- 20 (Ex. 12); Tyndal Decl.

¶¶ 20-24 (Ex. 13); Wimpey Decl., ¶¶ 10-13 (Ex. 14); Woods Decl. ¶¶ 7-17 (Ex. 15). Deprived of

the powerful remedial tools Congress provided in the FHA to eradicate housing and lending

discrimination, these organizations will be severely restricted in their ability to advocate and




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litigate for victims of housing discrimination, even as the pandemic has made the need for safe,

affordable housing more vital than ever.

       If it takes effect, the 2020 Rule will undermine the ability of all housing organizations to

help victims of housing and lending discrimination vindicate their rights, further diluting the

remedial and deterrent purposes of the FHA. Given the interconnection of housing with every

other facet of American life, from the quality of air one breathes to the rigor of the schools one’s

children attend, the ripple effect of hobbling disparate impact claims under the FHA will extend

far beyond housing. See Avenue 6E Investments, LLC v. City of Yuma, Ariz., 818 F.3d 493, 503

(9th Cir. 2016) (“[H]ousing segregation both perpetuates and reflects this country’s basic

problems regarding race relations: educational disparities, police-community relations, crime

levels, wealth inequality, and even access to basic needs such as clean water and clean air.”)

       The changes from established FHA practice in the 2020 Rule are designed to, and will,

cause Plaintiffs to expend resources to meet the 2020 Rule’s onerous new requirements, and

curtail Plaintiffs’ ability to fulfill their missions of eradicating systemic housing discrimination

and creating inclusive communities. Such changes in a non-profits’ programming, and

frustration of their mission is sufficient to demonstrate irreparable harm. See East Bay Sanctuary

Covenant v. Barr, 964 F.3d 832, 854 (9th Cir. 2020) (plaintiffs established a likelihood of

irreparable harm where challenged rule “harms their mission of representing and assisting

asylum seekers and results in a substantial loss of organizational funding” and “forces plaintiffs

to overhaul their programs and pursue more complex and time-and-resource intensive forms of

relief, resulting in plaintiffs’ providing fewer services to fewer individuals.”).




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IV.    THE BALANCE OF HARMS AND PUBLIC INTEREST FAVOR DELAYING
       THE EFFECTIVE DATE OF HUD’S NEW RULE.

       The third and fourth factors typically considered by the Court – the balance of harms and

the public interest – “merge when the Government is the opposing party.” Nken, 556 U.S. at

435. In this case, both factors together weigh heavily in favor of postponing the effective date of

the 2020 Rule.

       If the 2020 Rule is permitted to take effect, but the Court later finds that it was invalid,

fair housing advocates such as Plaintiffs, the clients they represent, the defendants they charge,

the investigators and administrative law and judges at HUD, and potentially the courts that are

adjudicating their claims, will all be whipsawed by two major shifts in applicable pleading rules,

defenses and burdens of proof: first, when the 2020 Rule takes effect; and then, again, when it is

set aside and the 2013 Rule and the underlying principles it codified once again control. There is

no good reason to permit such confusion – or such an irreparable waste of resources for everyone

affected by these Rules. If, as it proclaims, HUD wants to promote the “clarity” of the applicable

rules, HUD should not oppose a stay of the effective date to allow for orderly judicial review of

the validity of its new rule to be completed before the 2020 Rule it is allowed to take effect. See

Washington v. Trump, --F.Supp.3d --, 2020 WL 5568557 at *5 (E.D. Wash. Sept. 17, 2020)

(finding government’s burden in complying with nationwide preliminary injunction halting

enforcement of mail delivery policy changes was “negligible”).

       Even if the Court ultimately finds that the 2020 Rule is valid, the limited stay of its

effective date sought by Plaintiffs will not harm the public interest in any significant way. There

is no exigency here. The existing 2013 Rule, by HUD’s own acknowledgement, is not unlawful.

HUD may wish to put its ill-advised new policy into effect as soon as possible, but there is no




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compelling reason to allow the 2020 Rule to take effect before the Court has had an opportunity

to consider the serious challenges Plaintiffs have raised.

                                                   Conclusion

       For all of these reasons, the Court should exercise its authority under 5 U.S.C. § 705 to

stay the effective date of HUD’s 2020 Rule and issue a nationwide preliminary injunction

barring HUD from applying the 2020 Rule pending conclusion of this review proceeding.


                                                            Respectfully submitted,

                                                            /s/ Lauren Sampson
                                                            Lauren Sampson (BBO # 704319)
                                                            Oren Sellstrom (BBO # 569045)
                                                            LAWYERS FOR CIVIL RIGHTS
                                                            61 Batterymarch Street, 5th Floor
                                                            Boston, Massachusetts 02210
                                                            (617) 482-1145

                                                            Scott P. Lewis (BBO # 298740)
                                                            Mina S. Makarious (BBO # 675779)
                                                            Annie E. Lee (BBO # 705568)
                                                            ANDERSON & KREIGER LLP
                                                            50 Milk Street, 21st Floor
                                                            Boston, Massachusetts 02109
                                                            (617) 621-6525

October 6, 2020
                                         CERTIFICATE OF SERVICE

                I hereby certify that this document filed through the ECF system will be sent
       electronically to the registered participants identified on the Notice of Electronic Filing, and to all
       other parties in accordance with the Federal Rules of Civil Procedure and Local Rules.

                                                                /s/Mina S. Makarious




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                        ADDENDA




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                        24 C.F.R. §§ 100.5 and 100.500 under 2020 Rule

24 C.F.R. § 100.5

(a) It is the policy of the United States to provide, within constitutional limitations, for fair
housing throughout the United States. No person shall be subjected to discrimination because of
race, color, religion, sex, handicap, familial status, or national origin in the sale, rental, or
advertising of dwellings, in the provision of brokerage services, or in the availability of
residential real estate-related transactions.

 (b) This part provides the Department's interpretation of the coverage of the Fair Housing Act
regarding discrimination related to the sale or rental of dwellings, the provision of services in
connection therewith, and the availability of residential real estate-related transactions. The
illustrations of unlawful housing discrimination in this part may be established by a practice's
discriminatory effect, even if not motivated by discriminatory intent, and defenses and rebuttals
to allegations of unlawful discriminatory effect may be made, consistent with the standards
outlined in § 100.500. Guidance documents and other administrative actions and documents
issued by HUD shall be consistent with the standards outlined in § 100.500.

(c) Nothing in this part relieves persons participating in a Federal or Federally-assisted program
or activity from other requirements applicable to buildings and dwellings.

(d) Nothing in this part requires or encourages the collection of data with respect to race, color,
religion, sex, handicap, familial status, or national origin.

24 C.F.R. § 100.500

(a) General. Liability may be established under the Fair Housing Act based on a specific policy's
or practice's discriminatory effect on members of a protected class under the Fair Housing Act
even if the specific practice was not motivated by a discriminatory intent.

(b) Pleading stage. At the pleading stage, to state a discriminatory effects claim based on an
allegation that a specific, identifiable policy or practice has a discriminatory effect, a plaintiff or
charging party (hereinafter, “plaintiff”) must sufficiently plead facts to support each of the
following elements:

        (1) That the challenged policy or practice is arbitrary, artificial, and unnecessary to
        achieve a valid interest or legitimate objective such as a practical business, profit, policy
        consideration, or requirement of law;

        (2) That the challenged policy or practice has a disproportionately adverse effect on
        members of a protected class;

        (3) That there is a robust causal link between the challenged policy or practice and the
        adverse effect on members of a protected class, meaning that the specific policy or
        practice is the direct cause of the discriminatory effect;

        (4) That the alleged disparity caused by the policy or practice is significant; and


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       (5) That there is a direct relation between the injury asserted and the injurious conduct
       alleged.

(c) Burdens of proof in discriminatory effect cases. The burdens of proof to establish that a
policy or practice has a discriminatory effect, are as follows:

       (1) A plaintiff must prove by the preponderance of the evidence each of the elements in
       paragraphs (b)(2) through (5) of this section.

       (2) A defendant or responding party (hereinafter, “defendant”) may rebut a plaintiff's
       allegation under (b)(1) of this section that the challenged policy or practice is arbitrary,
       artificial, and unnecessary by producing evidence showing that the challenged policy or
       practice advances a valid interest (or interests) and is therefore not arbitrary, artificial,
       and unnecessary.

       (3) If a defendant rebuts a plaintiff's assertion under paragraph (c)(1) of this section, the
       plaintiff must prove by the preponderance of the evidence either that the interest (or
       interests) advanced by the defendant are not valid or that a less discriminatory policy or
       practice exists that would serve the defendant's identified interest (or interests) in an
       equally effective manner without imposing materially greater costs on, or creating other
       material burdens for, the defendant.

(d) Defenses. The following defenses are available to a defendant in a discriminatory effect case.

       (1) Pleading stage. The defendant may establish that a plaintiff has failed to sufficiently
       plead facts to support an element of a prima facie case under paragraph (b) of this
       section, including by showing that the defendant's policy or practice was reasonably
       necessary to comply with a third-party requirement, such as a:

               (i) Federal, state, or local law;

               (ii) Binding or controlling court, arbitral, administrative order or opinion; or

               (iii) Binding or controlling regulatory, administrative or government guidance or
               requirement.

       (2) After the pleading stage. The defendant may establish that the plaintiff has failed to
       meet the burden of proof to establish a discriminatory effects claim under paragraph (c)
       of this section, by demonstrating any of the following:

               (i) The policy or practice is intended to predict an occurrence of an outcome, the
               prediction represents a valid interest, and the outcome predicted by the policy or
               practice does not or would not have a disparate impact on protected classes
               compared to similarly situated individuals not part of the protected class, with
               respect to the allegations under paragraph (b). This is not an adequate defense,
               however, if the plaintiff demonstrates that an alternative, less discriminatory
               policy or practice would result in the same outcome of the policy or practice,



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               without imposing materially greater costs on, or creating other material burdens
               for the defendant.

               (ii) The plaintiff has failed to establish that a policy or practice has a
               discriminatory effect under paragraph (c) of this section.

               (iii) The defendant's policy or practice is reasonably necessary to comply with a
               third party requirement, such as a:

                       (A) Federal, state, or local law;

                       (B) Binding or controlling court, arbitral, administrative order or opinion;
                       or

                       (C) Binding or controlling regulatory, administrative, or government
                       guidance or requirement.

(e) Business of insurance laws. Nothing in this section is intended to invalidate, impair, or
supersede any law enacted by any state for the purpose of regulating the business of insurance.

(f) Remedies in discriminatory effect cases. In cases where liability is based solely on a
discriminatory effect theory, remedies should be concentrated on eliminating or reforming the
discriminatory practice so as to eliminate disparities between persons in a particular protected
class and other persons. In administrative proceedings under 42 U.S.C. 3612(g) based solely on
discriminatory effect theory, HUD will seek only equitable remedies, provided that where
pecuniary damage is proved, HUD will seek compensatory damages or restitution; and provided
further that HUD may pursue civil money penalties in discriminatory effect cases only where the
defendant has previously been adjudged, within the last five years, to have committed unlawful
housing discrimination under the Fair Housing Act, other than under this section.

(g) Severability. The framework of the burdens and defenses provisions are considered to be
severable. If any provision is stayed or determined to be invalid or their applicability to any
person or circumstances invalid, the remaining provisions shall be construed as to be given the
maximum effect permitted by law.




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                        24 C.F.R. §§ 100.5 and 100.500 under 2013 Rule

24 C.F.R. § 100.5

(a) It is the policy of the United States to provide, within constitutional limitations, for fair
housing throughout the United States. No person shall be subjected to discrimination because of
race, color, religion, sex, handicap, familial status, or national origin in the sale, rental, or
advertising of dwellings, in the provision of brokerage services, or in the availability of
residential real estate-related transactions.

(b) This part provides the Department's interpretation of the coverage of the Fair Housing Act
regarding discrimination related to the sale or rental of dwellings, the provision of services in
connection therewith, and the availability of residential real estate-related transactions. The
illustrations of unlawful housing discrimination in this part may be established by a practice's
discriminatory effect, even if not motivated by discriminatory intent, consistent with the
standards outlined in § 100.500.

(c) Nothing in this part relieves persons participating in a Federal or Federally-assisted program
or activity from other requirements applicable to buildings and dwellings.

24 C.F.R. § 100.500

Liability may be established under the Fair Housing Act based on a practice's discriminatory
effect, as defined in paragraph (a) of this section, even if the practice was not motivated by a
discriminatory intent. The practice may still be lawful if supported by a legally sufficient
justification, as defined in paragraph (b) of this section. The burdens of proof for establishing a
violation under this subpart are set forth in paragraph (c) of this section.

(a) Discriminatory effect. A practice has a discriminatory effect where it actually or predictably
results in a disparate impact on a group of persons or creates, increases, reinforces, or perpetuates
segregated housing patterns because of race, color, religion, sex, handicap, familial status, or
national origin.

(b) Legally sufficient justification.

        (1) A legally sufficient justification exists where the challenged practice:

                (i) Is necessary to achieve one or more substantial, legitimate, nondiscriminatory
                interests of the respondent, with respect to claims brought under 42 U.S.C. 3612,
                or defendant, with respect to claims brought under 42 U.S.C. 3613 or 3614; and

                (ii) Those interests could not be served by another practice that has a less
                discriminatory effect.

        (2) A legally sufficient justification must be supported by evidence and may not be
        hypothetical or speculative. The burdens of proof for establishing each of the two
        elements of a legally sufficient justification are set forth in paragraphs (c)(2) and (c)(3) of
        this section.


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(c) Burdens of proof in discriminatory effects cases.

       (1) The charging party, with respect to a claim brought under 42 U.S.C. 3612, or the
       plaintiff, with respect to a claim brought under 42 U.S.C. 3613 or 3614, has the burden of
       proving that a challenged practice caused or predictably will cause a discriminatory
       effect.

       (2) Once the charging party or plaintiff satisfies the burden of proof set forth in paragraph
       (c)(1) of this section, the respondent or defendant has the burden of proving that the
       challenged practice is necessary to achieve one or more substantial, legitimate,
       nondiscriminatory interests of the respondent or defendant.

       (3) If the respondent or defendant satisfies the burden of proof set forth in paragraph
       (c)(2) of this section, the charging party or plaintiff may still prevail upon proving that
       the substantial, legitimate, nondiscriminatory interests supporting the challenged practice
       could be served by another practice that has a less discriminatory effect.

(d) Relationship to discriminatory intent. A demonstration that a practice is supported by a
legally sufficient justification, as defined in paragraph (b) of this section, may not be used as a
defense against a claim of intentional discrimination.




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